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                                                  U.S. Department of Justice

                                                  United States Attorney
                                                  Eastern District of Missouri

                                                  Violent Crime Unit

 THOMAS J. MEHAN                                  Thomas Eagleton U.S. Courthouse     OFFICE: 314-539-2200
 Assistant United States Attorney                 111 S. lOth Street, Rm. 20.333      DIRECT: 314-539-2283
                                                  St. Louis, MO 63102               thomas.mehan@usdoj.gov




                                                                   May 8, 2019

Mr. Gregory J. Linhares
Clerk, United States District Court
111 South Tenth Street
Saint Louis, Missouri 63102

                                    Re:     United States v. Joseph Johnson
                                    Case No. 4:19 CR 215 AGF
                                    Lift of Indictment Suppression

Dear Mr. Linhares:

The indictment filed in the above-referenced matter was suppressed pending apprehension of the
defendant. Mr. Johnson is self-surrendering on Monday, May 13, 2019. Therefore, we
respectfully request that the suppression of indictment be lifted.

Please do not hesitate to contact me if you have any questions or require additional
information.



                                                                  Very truly yours,

                                                                  s/Thomas J. Mehan
                                                                  THOMAS J. MEHAN
                                                                  Assistant United States Attorney
